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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                     )
                                              )
                       Plaintiff,             )               8:12CR311
                                              )
                       vs.                    )      ORDER FOR DISMISSAL
                                              )
NASH HAMMOND,                                 )
                                              )
                       Defendant.             )


       Pursuant to Motion of the United States (Filing No. 576), pursuant to Federal Rule of

Criminal Procedure 48(a), leave of court is granted for the filing of the dismissal of the Indictment

against Nash Hammond.

       IT IS ORDERED that the Motion to Dismiss the Indictment (Filing No.576) is granted.

       Dated this 12th day of December, 2013.

                                              BY THE COURT:



                                              s/ Joseph F. Bataillon
                                              United States District Judge
